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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF VIRGINIA
                              RICHMOND DIVISION

ERIC WALDENMAIER, on behalf of
himself and others similarly situated,

       Plaintiff,

v.                                                       Civil Action No. 3:23CV00466-HEH

PAYMERANG,LLC,

       Defendant.

                               INITIAL PRETRIAL ORDER

       At a pretrial conference held on December 7, 2023, this action was set for trial by a

jury to begin on AUGUST 5, 2024 at 9:30 a.m.

       1.      The Scheduling Order and Pretrial Schedule A previously issued in this action

shall remain in effect.

       2.      A Final Pretrial Conference will be conducted on ----==-=----->
                                                                      n/a      at which

time trial counsel shall appear and present for entry a Final Pretrial Order. The parties are

directed to this Court's Scheduling Order and Pretrial Schedule A, the terms of which are

specifically incorporated herein, for the requirements of the Final Pretrial Order.

       It is so ORDERED.



                                                   Henry E. Hudson
                                                   Senior United States District Judge
Richmond, Virginia
Date: December 8, 2023
